               Case 1:24-cv-00987-JMC         Document
                             United States District     48-1
                                                    Court,      Filed
                                                           District    01/14/25 Page 1 of 1
                                                                    of Maryland
                      Tripp et al. v. Perdue Foods LLC; Case No.: 1:24-cv-00987-JMC

                   CONSENT TO JOIN COLLECTIVE ACTION
                                        Pursuant to the Fair Labor Standards Act

        1.      I consent and agree to pursue my overtime and minimum wage claims arising out my work as a grower
for Perdue in connection with the above-referenced lawsuit.

       2.      I am/was a grower with Perdue. I worked in the following state: _________________
                                                                                       NC        from
approximately _______________ (month, year) to on or about _________________ (month, year).
              8/1/2022 12:00:00 AM                         1/1/2042 12:00:00 AM


        3.      I understand that this lawsuit is brought under the Fair Labor Standards Act. I hereby consent, agree, and
“opt in” to become a plaintiff herein and to be bound by any judgment by the Court or any settlement of this action.

        4.       I hereby designate FAIRMARK PARTNERS LLP; GERSTEIN HARROW LLP; and ZIPIN, AMSTER AND
GREENBERG, LLC (“Plaintiff’s Counsel”) to represent me for all purposes in this action, and other lawyers they may
choose to associate with.

         5.      I also designate the Named Plaintiff in this action, the collective action representative, as my agent to
make decisions on my behalf concerning the litigation, including the method and manner of conducting this litigation,
entering into settlement agreements, entering into an agreement with Plaintiff’s Counsel (with the understanding that
Plaintiff’s Counsel is being paid on a contingency fee basis, which means that if there is no recovery, there will be no
attorneys’ fees, pursuant to the Named Plaintiff’s retainer agreement with Plaintiff’s Counsel).

Signature:      Bob Stallings
                ___________________________________________________________

Date:           ___________________________________________________________

Name:           ___________________________________________________________
                BOB STALLINGS



Address:                         _____________________________________________

Telephone:                    ________________________________________________

E-Mail:                               __________________________________________

             If you wish to join this case, you must sign this form and return it via mail, email, or fax to:

                                          Tripp v. Perdue Foods LLC
                                              c/o CPT Group, Inc.
                                               50 Corporate Park
                                                Irvine, CA 92606
                                              Fax: 1-949-419-3446
                                   Email: TrippVPerdueFoods@cptgroup.com

                       OR by signing a form electronically at: www.TrippVPerdueFoods.com

Your signed form must be postmarked or submitted via fax, email, or online, no later than April 3, 2025. If you fail to
return your signed form to the Collective Action Notice Administrator on or before the above deadline, you may not be
able to participate in this lawsuit.
